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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     JANE DOE,                                           Case No. 23-cv-06657-PCP
                                                         Plaintiff,
                                   8
                                                                                             ORDER DENYING MOTION TO
                                                 v.                                          RECONSIDER AND REQUIRING
                                   9
                                                                                             AMENDED COMPLAINT WITHOUT A
                                  10     MARLENE DEHLINGER, et al.,                          PSEUDONYM
                                                         Defendants.
                                  11

                                  12
Northern District of California
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                                  13          The pro se plaintiff in this case requested to proceed under pseudonym, filing as “Jane

                                  14   Doe” rather than using a real name. On April 9, 2024, the Court denied this request. Dkt. No. 21.

                                  15   The Court explained that plaintiff had not clearly identified harm that would result if a real name

                                  16   were disclosed:

                                  17                  Plaintiff argues that they are challenging government action and that
                                  18                  there is a risk of retaliation. The motion appears to focus on potential
                                                      retaliation by the government, including the City of Cupertino, which
                                  19                  is a defendant in this case, as well as the State of California. The
                                                      motion also asserts that disclosure of plaintiff’s identity could result
                                  20                  in defamation, harassment, violent reprisals, or hostile public
                                                      reaction. These assertions are conclusory, however, and the motion
                                  21
                                                      does not provide further explanation of how or why these harms might
                                  22                  materialize if plaintiff’s identity is disclosed. This case also does not
                                                      appear to involve the kinds of “sensitive and highly personal” matters
                                  23                  that might warrant anonymity. Moreover, to the extent the motion
                                                      concerns retaliation by the City or other related government entities,
                                  24                  allowing plaintiff to proceed under pseudonym is unlikely to shield
                                                      their identity because the allegations of the complaint would enable
                                  25
                                                      the City to identify plaintiff even without a name.
                                  26   Dkt. No. 21 (cleaned up).
                                  27          Because the original complaint did not include plaintiff’s legal name, the Court ordered
                                  28   plaintiff to file an amended complaint with plaintiff’s legal name by April 23, 2024. The Court
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                                   1   noted that if plaintiff did not file an amended complaint by that deadline, the case would be

                                   2   dismissed without prejudice (meaning plaintiff could still re-file the same complaint later on). On

                                   3   plaintiff’s request, the Court then extended the deadline to file an amended complaint to May 31,

                                   4   2024. Plaintiff did not file an amended complaint by that deadline. Instead, plaintiff requested that

                                   5   the Court reconsider its decision not to allow use of a pseudonym. On June 3, 2024, the Court

                                   6   granted plaintiff leave to file a motion for reconsideration. Dkt. No. 26. The Court noted that

                                   7   plaintiff would need to identify new facts that have come to light since the date of the Court’s

                                   8   initial decision—facts that were not included in plaintiff’s letter requesting reconsideration.

                                   9          On June 20, 2024, plaintiff wrote a letter (filed June 24, 2024) urging the court to

                                  10   reconsider its decision to deny the request to use a pseudonym. Plaintiff describes several

                                  11   circumstances purportedly showing the safety and privacy risks that will be created if plaintiff’s

                                  12   personal information is revealed through this litigation. While the situations plaintiff describes are
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                                  13   serious, plaintiff has still not shown how there is likely to be any risk that would arise simply from

                                  14   proceeding under plaintiff’s own name rather than a pseudonym in this litigation. Accordingly,

                                  15   the Court will not reconsider its initial determination. Plaintiff must proceed under plaintiff’s true

                                  16   name to pursue this litigation. Still, while plaintiff may not use a pseudonym, plaintiff may request

                                  17   to redact any other sensitive personal information (such as an address or other contact information)

                                  18   by filing a motion to seal.

                                  19          Plaintiff may file by August 8, 2024 an amended complaint that does not use a pseudonym.

                                  20   The Pro Se Program at the San Jose Courthouse remains available to provide limited scope legal

                                  21   advice, assistance with simple pleadings, and referrals to legal services. Appointments can be

                                  22   made by calling (408) 297-1480. If no amended complaint is filed by August 8, 2024, this action

                                  23   will be dismissed without prejudice.

                                  24          IT IS SO ORDERED.

                                  25   Dated: July 9, 2024

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                                                                                                     P. Casey Pitts
                                  28                                                                 United States District Judge
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